         Case 3:22-cv-00248-MMC Document 16 Filed 02/09/22 Page 1 of 4



                            UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA


  LENA EVANS, et al.,                               Case No. 22‐cv‐00248‐MMC
           Plaintiffs,
        v.
                                                    CASE MANAGEMENT
                                                    CONFERENCE ORDER
  PAYPAL, INC.,
             Defendant.


          IT IS HEREBY ORDERED that, pursuant to Rule 16(b), Federal Rules of Civil
  Procedure, and Civil L.R. 16-2, a Case Management Conference will be held in this case
  before the Honorable Maxine M. Chesney on Friday, April 22, 2022 at 10:30 a.m. in
  Courtroom No. 7, 19th floor Federal Building.

          Plaintiff(s) shall serve copies of this Order and the Court's Standing Orders at once
  on all parties to this action, and on any parties subsequently joined, in accordance with the
  provisions of Fed.R.Civ.P. 4 and 5. Following service, plaintiff(s) shall file a certificate of
  service with the Clerk of this Court.

          Counsel are directed to confer in advance of the Case Management Conference with
  respect to all of the agenda items listed in the Standing Order for All Judges of the Northern
  District of California/Contents of Joint Case Management Statement. Not less than seven
  days before the conference, counsel shall file a joint case management statement addressing
  each agenda item. Failure to file a joint statement shall be accompanied by a signed
  declaration setting forth the grounds for such failure.

          Each party shall be represented at the Case Management Conference by counsel
  prepared to address all of the matters referred to in this Order, and with authority to enter
  stipulations and make admissions pursuant to this Order.

          Any request to reschedule the above dates shall be made in writing, and, if possible,
  by stipulation. Unless impracticable, such request shall be made not less than ten days before
  the conference date. Good cause must be shown.

       Failure to comply with this Order or the Local Rules of this Court may result in
sanctions. See Fed.R.Civ.P. 16(f); Civil L.R. 1-4.

       IT IS SO ORDERED.
Dated: 2/9/2022


                                                             MAXINE M. CHESNEY
                                                             United States District Judge
               Case 3:22-cv-00248-MMC Document 16 Filed 02/09/22 Page 2 of 4

                                    STANDING ORDERS FOR CASES
                           ASSIGNED TO THE HONORABLE MAXINE M. CHESNEY

1.   The parties shall consult and comply with all provisions of the Local Rules relating to continuances,
     motions, briefs, and all other matters, unless superseded by these Standing Orders.
2.   Lodging Courtesy Copies for Chambers
     Timing: Courtesy copies of filed documents shall be mailed via first class mail to the Clerk’s Office on the same
     day the documents are filed unless the filing is in connection with a hearing to be held within 7 days of the filing,
     in which case courtesy copies shall be delivered to the Clerk’s Office no later than noon on the court day
     following the filing.
     Format: Courtesy copies shall be submitted in single‐sided format. Any attached exhibits shall be separated by
     tabbed dividers.
3.   Scheduling Days
     a.      Criminal Law and Motion Calendar is conducted on Wednesdays at 2:15 p.m.
     b.      Civil Law and Motion Calendar is conducted on Fridays at 9:00 a.m.
     c.      Case Management Conferences are conducted on Fridays at 10:30 a.m., with order of call determined
             by the Court.
     d.      Pretrial conferences are conducted on Tuesdays at 10:00 a.m. or 3:00 p.m.
     e.      Counsel need not reserve a hearing date for motions, but noticed dates may be reset as the Court's
             calendar requires.
4.   Proposed Orders Required
     Each party filing or opposing a motion shall also serve and file a proposed order setting forth the relief or action
     sought and a short statement of the rationale of decision, including citation of authority, that the party requests
     the Court to adopt.
5.   Discovery
     Discovery motions in civil cases will be referred to a Magistrate Judge.
6.   Summary Judgment
     Unless specific leave has been requested and granted, the Court will address only one motion for summary
     judgment/adjudication per party or side. Examples of issues the Court may deem appropriate for determination
     by separate motion, particularly if raised early in the case, include such affirmative defenses as the statute of
     limitations and failure to exhaust administrative remedies.
7.   Procedural Matters
     Parties seeking to continue hearings, request special status conferences, modify briefing schedules, or make
     other procedural changes shall submit a signed stipulation and proposed order, or, if stipulation is not possible,
     a motion or administrative request in accordance with Civil Local Rule 6‐3 or 7‐11, as appropriate, and as
     incorporated by Criminal Local Rule 2‐1. Irrespective of whether the parties are in agreement, no changes in the
     Court’s schedule or procedures shall be made except by order of the Court and only upon a showing of good
     cause.
8.   Service of Standing Orders
     Plaintiff is directed to serve copies of these standing orders upon all parties to this action and upon those
     subsequently joined, and to file a certificate reflecting such service.

     IT IS SO ORDERED.

     Dated: January 4, 2022

                                                                        Maxine M. Chesney
                                                                        Senior United States District Judge
              Case 3:22-cv-00248-MMC Document 16 Filed 02/09/22 Page 3 of 4


                          STANDING ORDER FOR ALL JUDGES
                      OF THE NORTHERN DISTRICT OF CALIFORNIA
               CONTENTS OF JOINT CASE MANAGEMENT STATEMENT

All judges of the Northern District of California require identical information in Joint Case
Management Statements filed pursuant to Civil Local Rule 16-9. The parties must include the
following information in their statement which, except in unusually complex cases, should not
exceed ten pages:
  1.    Jurisdiction and Service: The basis for the court’s subject matter jurisdiction over
        plaintiff’s claims and defendant’s counterclaims, whether any issues exist regarding
        personal jurisdiction or venue, whether any parties remain to be served, and, if any
        parties remain to be served, a proposed deadline for service.
  2.    Facts: A brief chronology of the facts and a statement of the principal factual issues in
        dispute.
  3.    Legal Issues: A brief statement, without extended legal argument, of the disputed
        points of law, including reference to specific statutes and decisions.
  4.    Motions: All prior and pending motions, their current status, and any anticipated
        motions.
  5.    Amendment of Pleadings: The extent to which parties, claims, or defenses are expected
        to be added or dismissed and a proposed deadline for amending the pleadings.
  6.    Evidence Preservation: A brief report certifying that the parties have reviewed the
        Guidelines Relating to the Discovery of Electronically Stored Information (“ESI
        Guidelines”), and confirming that the parties have met and conferred pursuant to Fed.
        R. Civ. P. 26(f) regarding reasonable and proportionate steps taken to preserve evidence
        relevant to the issues reasonably evident in this action. See ESI Guidelines 2.01 and 2.02,
        and Checklist for ESI Meet and Confer.
  7.    Disclosures: Whether there has been full and timely compliance with the initial
        disclosure requirements of Fed. R. Civ. P. 26, and a description of the disclosures made.
  8.    Discovery: Discovery taken to date, if any, the scope of anticipated discovery, any
        proposed limitations or modifications of the discovery rules, a brief report on whether
        the parties have considered entering into a stipulated e-discovery order, a proposed
        discovery plan pursuant to Fed. R. Civ. P. 26(f), and any identified discovery disputes.
  9.    Class Actions: If a class action, a proposal for how and when the class will be certified,
        and whether all attorneys of record for the parties have reviewed the Procedural
        Guidance for Class Action Settlements.
  10.   Related Cases: Any related cases or proceedings pending before another judge of this
        court, or before another court or administrative body.
  11.   Relief: All relief sought through complaint or counterclaim, including the amount of
        any damages sought and a description of the bases on which damages are calculated. In
        addition, any party from whom damages are sought must describe the bases on which
        it contends damages should be calculated if liability is established.

Effective November 1, 2018
              Case 3:22-cv-00248-MMC Document 16 Filed 02/09/22 Page 4 of 4


  12.   Settlement and ADR: Prospects for settlement, ADR efforts to date, and a specific ADR
        plan for the case, including compliance with ADR L.R. 3-5 and a description of key
        discovery or motions necessary to position the parties to negotiate a resolution.
  13.   Consent to Magistrate Judge For All Purposes: Whether all parties will consent to have
        a magistrate judge conduct all further proceedings including trial and entry of
        judgment. ___ Yes ___ No
  14.   Other References: Whether the case is suitable for reference to binding arbitration, a
        special master, or the Judicial Panel on Multidistrict Litigation.
  15.   Narrowing of Issues: Issues that can be narrowed by agreement or by motion,
        suggestions to expedite the presentation of evidence at trial (e.g., through summaries or
        stipulated facts), and any request to bifurcate issues, claims, or defenses.
  16.   Expedited Trial Procedure: Whether this is the type of case that can be handled under
        the Expedited Trial Procedure of General Order No. 64 Attachment A. If all parties
        agree, they shall instead of this Statement, file an executed Agreement for Expedited
        Trial and a Joint Expedited Case Management Statement, in accordance with General
        Order No. 64 Attachments B and D.
  17.   Scheduling: Proposed dates for designation of experts, discovery cutoff, hearing of
        dispositive motions, pretrial conference and trial.
  18.   Trial: Whether the case will be tried to a jury or to the court and the expected length of
        the trial.
  19.   Disclosure of Non-party Interested Entities or Persons: Whether each party has filed the
        “Certification of Interested Entities or Persons” required by Civil Local Rule 3-15. In
        addition, each party must restate in the case management statement the contents of its
        certification by identifying any persons, firms, partnerships, corporations (including
        parent corporations) or other entities known by the party to have either: (i) a financial
        interest in the subject matter in controversy or in a party to the proceeding; or (ii) any
        other kind of interest that could be substantially affected by the outcome of the
        proceeding. In any proposed class, collective, or representative action, the required
        disclosure includes any person or entity that is funding the prosecution of any claim or
        counterclaim.
  20.   Professional Conduct: Whether all attorneys of record for the parties have reviewed the
        Guidelines for Professional Conduct for the Northern District of California.
  21.   Such other matters as may facilitate the just, speedy and inexpensive disposition of this
        matter.




Effective November 1, 2018                       2
